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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.                     )
                        Plaintiff,        )
                                          )
                 v.                       )                   Case No. 1:17-cv-11008
                                          )
CELLTRION HEALTHCARE CO., LTD. ,          )
CELLTRION, INC., and                      )
HOSPIRA, INC.                             )
                        Defendants.       )
_________________________________________ )


                                   NOTICE OF APPEARANCE

          Please enter my appearance for Plaintiff Janssen Biotech, Inc. in the above-captioned

matter.

                                                   Respectfully submitted,

                                                   /s/ Alison C. Casey
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Dated: June 1, 2017



                                  CERTIFICATE OF SERVICE

        I certify that, on June 1, 2017, this document (filed through the ECF system) will be sent
electronically to the registered participants and paper copies will be sent to those indicated as
non-registered participants.

                                                   /s/ Alison C. Casey
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